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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:02-cr-266
                                    )
v.                                  )                 Honorable David W. McKeague
                                    )
ARTHUR TRUMAN FISHER,               )
                                    )                         ORDER
                  Defendant.        )
____________________________________)


               Presently pending before the court is defendant’s objection to a report and

recommendation of the magistrate judge, recommending denial of defendant’s motion for leave to

supplement his pending section 2255 motion. The report and recommendation treats defendant’s

motion as a motion to amend under Rule 15(a) of the Federal Rules of Civil Procedure and concludes

that amendment would be futile. Defendant’s objections, which this court must review de novo,

assert that the magistrate judge should have analyzed the motion as a motion to supplement under

Rule 15(d) and that the report and recommendation is substantively incorrect. On de novo review,

the court determines that defendant’s objections should be overruled.

               Defendant’s procedural argument concerning Rule 15(d) is mistaken. Rule 15(d) of

the Federal Rules of Civil Procedure allows a party to supplement a pleading to set forth

“transactions or occurrences or events which have happened since the date of the pleading sought

to be supplemented.” FED . R. CIV . P. 15(d). Plaintiff’s motion does not seek to allege the existence

of transactions, occurrences or events that have taken place since the date of his conviction. Rather,
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his motion seeks to assert in this case a claim for relief based on the Supreme Court’s decision in

United States v. Booker, 125 S. Ct. 738 (2005), which was released after defendant’s conviction

became final. Supreme Court decisions are not occurrences or events within the meaning of Rule

15(d). Defendant seeks to assert new law, not new facts. Consequently, the magistrate judge was

correct in treating plaintiff’s motion as a request to add a new legal theory to a section 2255 motion.

Such requests are properly governed by Rule 15(a), and they are properly denied when a proposed

amendment would be futile. See Coe v. Bell, 161 F.3d 320, 341-42 (6th Cir. 1998).

               The magistrate judge was also correct in determining that defendant’s attempted

reliance on the Booker decision is barred by the recent Sixth Circuit case of Humphress v. United

States, 398 F.3d 855 (6th Cir. 2005). In Humphress, the Sixth Circuit determined that Booker

announced a new rule of criminal procedure that cannot be applied retroactively. As defendant’s

conviction became final on April 12, 2004, months before Booker was announced, he may not seek

relief under Booker. Defendant’s attempts to distinguish Humphress are unpersuasive. Likewise,

defendant’s invocation of United States v. Barnett, 398 F.3d 516 (6th Cir. 2005), is unavailing.

Barnett involved application of Booker on direct appeal and dictates the application of plain error

review in the circumstances presented in that case. By definition, a defendant who seeks to apply

Booker in a case on direct review before the Court of Appeals is not seeking retroactive application

of Booker. Barnett has no application to section 2255 motions seeking to apply Booker retroactively

on collateral attack. In such situations, Humphress supplies the governing authority and requires

denial of defendant’s motion. Accordingly:




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              IT IS ORDERED that defendant’s objections to the report and recommendation of

the magistrate judge (docket # 221) be and hereby are OVERRULED and that the report and

recommendation (docket # 220) be and hereby is ADOPTED as the opinion of the court.

              IT IS FURTHER ORDERED that defendant’s motion for leave to supplement his

section 2255 motion (docket # 219) be and hereby is DENIED as futile.



Dated: May 9, 2005                           /s/ David W. McKeague
                                           David W. McKeague
                                           United States District Judge




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